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                 EXHIBIT 1
            Case: 1:21-cv-06231 Document #: 149-1 Filed: 07/08/24 Page 2 of 9 PageID #:2021
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Northern District
                                                       __________ District of
                                                                           of Illinois
                                                                              __________
                          ADAM AILION
                                                                              )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No. 1:21-cv-06231
                                                                              )
        HEALTHCARE SOLUTIONS TEAM, LLC                                        )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

 To:
                                                                        James Martelo
                                                       (Name of person to whom this subpoena is directed)

       ✔
       u Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
           See Schedule A, attached.


  Place: aburke@burkelawllc.com and dmarovitch@burkelawllc.com                          Date and Time:
           (preferred); the below IL address; or Burke Law Offices, LLC
           c/o FL Process Servers, 4809 Mirabella Pl., Lutz, FL 33558                                        04/18/2023 9:00 am

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:        04/03/2023

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party)      Plaintiff
Adam Ailion                                                              , who issues or requests this subpoena, are:
Alexander H. Burke, Burke Law Offices, LLC, 909 Davis St., Ste. 500, Evanston, IL 60201; aburke@burkelawllc.com;

                               Notice to the person who issues or requests this subpoena               
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 1:21-cv-06231

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            u I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            u I returned the subpoena unexecuted because:
                                                                                                                                                     .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                           SCHEDULE A

                             DEFINITIONS AND INSTRUCTIONS

        1.      Unless otherwise indicated, the relevant time period for the purposes of this

subpoena is from November 19, 2017, to the present.

        2.      All responsive data should be produced in delimited text format.

        3.      The term “document” or “documents” as used herein shall refer to all writings as

defined in Fed. R. Civ. P. 34(a)(1)(A), however produced or reproduced or archived or stored,

within your possession or subject to your control, of which you have knowledge or to which you

now have or previously had access, including all electronically stored information.

        4.      “Electronically stored information” (“ESI”) as used herein means any electronic

document or written communication and includes, without limitation, the following:

                a.      Activity listings of electronic mail receipts and/or transmittals;

                b.      Output resulting from the use of any software program, including without

limitation word processing documents, spreadsheets, database files, charts, graphs and outlines,

electronic mail, text messages, AOL Instant Messenger (or similar program) or bulletin board

programs, operating systems, source code, PRF files, PRC files, batch files, ASCII files, and all

miscellaneous media on which they reside and regardless of whether such electronic data exist in

an active file, deleted file, or file fragment; and

                c.      Any and all items stored on computer memories, hard disks, network

servers, individual computer workstations or clients, thumb drives, jump drives, CDs, DVDs,

cloud servers, floppy disks, CD-ROM, magnetic tape, microfiche, or on any other vehicle for

digital data storage and/or transmittal, including without limitation a personal digital assistant,

smartphone and/or tablet, e.g., iPhone, Droid, Blackberry, Galaxy, HTC, iPad, iPod, Kindle,



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Nook or other device. Plaintiff requests that ESI be processed and produced in a manner that

preserves all metadata and that the parties confer regarding the production of metadata and the

form or any electronic production prior to the gathering or processing of ESI. Data – for example

lead data – shall not be aggregated, truncated or “mixed” with other data, without prior conferral

and written disclosure.

       5.      “Database” or “databases” includes any collection of data defined so that it can be

reorganized and accessed in a number of different ways; any collection of data for one or more

purposes, usually in digital form; a comprehensive collection of related data organized for

convenient access, generally in a computer; a collection of information that is organized so that it

can easily be accessed, managed, and updated; or a structured set of data held in a computer.

       6.      Variations of “you” means James Martelo and any associated business over which

James Martelo has control, such as JRM Health Insurance Advisors Inc.

       7.      “HST” means Healthcare Solutions Team, LLC, and includes, without limitations,

any offices and locations of Healthcare Solutions Team, LLC, as well as any of its divisions,

affiliates, subsidiaries, parents, successors, predecessors, and present or former partners, and any

of their officers, directors, executives, managers, administrators, employees, agents, contractors,

fiduciaries, attorneys, or representatives.

       8.      “NatGen” means National General Holdings Corp., and includes, without

limitations, any offices and locations of National General Holdings Corp., as well as any of its

divisions, affiliates, subsidiaries, parents, successors, predecessors, and present or former

partners, and any of their officers, directors, executives, managers, administrators, employees,

agents, contractors, fiduciaries, attorneys, or representatives.

       9.      “Person” or “persons” means any individual, partnership, association, corporation,



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joint venture, governmental or administrative body, or other business or legal entities.

        10.     “Plaintiff” means Adam Ailion.

        11.     “Policy” or “policies” means any instruction(s), practice, procedure, directive,

routine, guideline, rule, course of conduct or code of conduct, written or unwritten, formal or

informal, recorded or unrecorded, which were or have been recognized, adopted, issued or

followed by you.

        12.     “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227,

implementing regulations 47 C.F.R. § 64.1200, and all FCC opinions and orders interpreting

such.

        13.     “Third party” or “third parties” or “other party” means any individual,

partnership, association, corporation, joint venture, or other business or legal entity not owned or

controlled by you, or any person that does not receive an annual salary from you, including, but

not limited to, affiliates, agents, subsidiaries of you.

        14.     References to any named entity or individual include agents, employees, and

attorneys of that person, whether or not acting within the scope of their authority; all other

persons acting on behalf of the person referred to; and in the case of an entity, any offices and

locations of that entity, as well as any of its divisions, affiliates, parents, subsidiaries, successors,

predecessors, present or former partners, officers, directors, executives, managers,

administrators, employees, agents, contractors, fiduciaries, attorneys, or representatives.

        15.     All other words shall have their ordinary definition as defined by Merriam-

Webster’s online dictionary, located at http://www.merriam-webster.com/.

        16.     The singular includes the plural number, and vice versa. The masculine includes

the feminine and neuter genders. The past tense includes the present tense where the clear



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meaning is not distorted by change of tense, and “and” and “or” shall be interpreted to mean

“and/or,” so that said terms are given their broadest possible meaning.

                                  PRODUCTION REQUESTS

       Please produce, on or before the date specified on the first page of the subpoena, the

following:

       1.      All data, communications, and other documents relating to Plaintiff or his phone

number, (678) 760-6266.

       2.      Documents sufficient to identify each vendor from whom you purchased lead call

transfers or leads that you called to solicit business for HST.

       3.      Your contracts and agreements with HST, NatGen, SalesDialers/ProspectBoss,

Impiger/Eleviant, Radius/Simple Shapes, Twilio, and any (sub)vendors through which you

purchased leads or that assisted you with any aspect of telemarketing (e.g., dialer provider,

customer relationship management vendor, data scrubbing vendor, call center, etc.).

       4.      All data pertaining to your or your business’s telemarketing activity on behalf of

HST. At a minimum, this should include outbound call data, inbound call transfer data (e.g.,

from “live” leads or similar), and campaign and lead data.

       5.      All data for sales resulting from telemarketing.

       6.      Documents sufficient to identify what consideration you paid with respect to

telemarketing for HST, as well as what consideration HST paid you for resulting sales.

       7.      Your internal do-not-call list, including all associated data (i.e., phone number,

add date, removal date, etc.).

       8.      All records that show when and how you received or transmitted do-not-call

request information from or to HST or any (sub)vendor.



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        9.       All records that show when and how you scrubbed your lead lists against any

internal do-not-call list.

        10.      Your do-not-call policy and all associated practice and procedure documents.

        11.      All emails and other communications pertaining to your telemarketing activity on

behalf of HST.

        12.      All instructional and training materials, handbooks, policy, practice, and

procedure documents you received or were given access to by HST concerning the TCPA and

do-not-call compliance.

        13.      All communications and documents relating to complaints of any kind (e.g.,

consumer, regulatory, pre-litigation, litigation), concerning telephone communications to persons

who allegedly did not want or consent to receive such calls, and any associated investigation or

action taken by HST or you (or others on your behalf) with regard to such.

        14.      All documents pertaining to any disciplinary action HST took as to you or your

business.

        15.      All documents concerning any visits or inspections you or your business

submitted to by HST, or any vendor of theirs relating to telemarketing.

        16.      Documents sufficient to identify what call and lead-related data you have deleted,

when.

        17.      All non-privileged communications concerning this lawsuit.



        Produce all data in delimited text format.




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